Case 1:18-cr-00268-KAM Document 45

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
- against -
DANIELLE KAUFMAN,
Defendant.
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UNDER SEAL

AMENDED

ORDER OF FORFEITURE

18-CR-268 (KAM)

WHEREAS, on or about June 27, 2018, Danielle Kaufman (the “defendant”),

entered a plea of guilty to the offense charged in Counts One and Two of the above-

captioned Information, charging violations of 18 U.S.C. § 1349 and 18 U.S.C. § 1956(h); and

WHEREAS, the government and the defendant have agreed that the correct

Forfeiture Money Judgment amount should be fifty thousand dollars and zero cents

($50,000.00);

WHEREAS, pursuant to 18 U.S.C. §§ 982(a)(1) and 982(a)(2), the defendant

has consented to the entry of a forfeiture money judgment in the amount of fifty thousand

dollars and zero cents ($50,000.00) (the “Forfeiture Money Judgment”), as: (a) property

constituting, or derived from, proceeds obtained directly or indirectly as a result of the

defendant’s violation of 18 U.S.C. § 1349; (b) property, real or personal, involved in the

defendant’s violation of 18 U.S.C. § 1956(h), or any property traceable to such property;

and/or (c) a substitute asset, pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. §

982(b)(1).
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IT IS HEREBY ORDERED, ADJUDGED AND DECREED, on consent, by
and between the United States and the defendant as follows:

1. The defendant shall forfeit to the United States the full amount of the
Forfeiture Money Judgment, pursuant to 18 U.S.C. §§ 982(a)(1), 982(a)(2), 982(b)(1) and 21
U.S.C. § 853(p).

2. All payments made towards the Forfeiture Money Judgment shall be
made by a money order, or certified and/or official bank check, payable to the U.S. Marshals
Service with the criminal docket number noted on the face of the instrument. The defendant
shall cause said payment(s) to be sent by overnight mail delivery to Assistant United States
Attorney Claire S. Kedeshain, United States Attorney’s Office, Eastern District of New
York, 271-A Cadman Plaza East, Brooklyn, New York 11201. The Forfeiture Money
Judgment shall be paid in full within 30 days of sentencing (the “Due Date”).

3. If the defendant fails to pay any portion of the Forfeiture Money
Judgment on or before the Due Date, the defendant shall forfeit any other property of hers up
to the value of the outstanding balance, pursuant to 21 U.S.C. § 853(p), as incorporated by 18
U.S.C. § 982(b)(1), and further agrees that the conditions of 21 U.S.C. § 853(p)(1)(A)-(E)
have been met.

4. Upon entry of this Order of Forfeiture (“Order”), the United States
Attorney General or his designee is authorized to conduct any proper discovery in
accordance with Fed. R. Crim. P. 32.2(b)(3) and (c). The United States alone shall hold title
to the monies paid by the defendant to satisfy the Forfeiture Money Judgment following the

Court’s entry of the judgment of conviction.

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5. The defendant shall fully assist the government in effectuating the
payment of the Forfeiture Money Judgment, by among other things, executing any
documents necessary to effectuate any transfer of title to the United States. The defendant
shall not file a claim or petition seeking remission or contesting the forfeiture of any property
against which the government seeks to satisfy the Forfeiture Money Judgment in any
administrative or judicial (civil or criminal) proceeding. The defendant shall not assist any
person or entity to file a claim or petition seeking remission or contesting the forfeiture of
any property against which the government seeks to satisfy the Forfeiture Money Judgment
in any administrative or judicial (civil or criminal) forfeiture proceeding.

6. The defendant knowingly and voluntarily waives her right to any
required notice concerning the forfeiture of the monies and/or properties forfeited hereunder,
including notice set forth in an indictment or information. In addition, the defendant
knowingly and voluntarily waives her right, if any, to a jury trial on the forfeiture of said
monies and/or properties, and waives all constitutional, legal and equitable defenses to the
forfeiture of said monies and/or properties, including, but not limited to, any defenses based
on principles of double jeopardy, the Ex Post Facto clause of the Constitution, any applicable
statute of limitations, venue, or any defense under the Eighth Amendment, including a claim
of excessive fines.

7. The entry and payment of the Forfeiture Money Judgment is not to be
considered a payment of a fine, penalty, restitution loss amount or a payment of any income
taxes that may be due, and shall survive bankruptcy.

8. Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B), this Order shall

become final as to the defendant at the time of sentencing and shall be made part of the

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sentence and included in the judgment of conviction. This Order shall become the Final
Order of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2). At that time, the monies
and/or properties paid toward the Forfeiture Money Judgment shall be forfeited to the United
States for disposition in accordance with the law.

2. This Order shall be binding upon the defendant and the successors,
administrators, heirs, assigns and transferees of the defendant, and shall survive the
bankruptcy of any of them.

10. This Order shall be final and binding only upon the Court’s “so
ordering” of the Order.

11. | The Court shall retain jurisdiction over this action to enforce
compliance with the terms of this Order and to amend it as necessary, pursuant to Fed. R.
Crim. P. 32.2(e).

12. The Clerk of the Court is directed to send, by inter-office mail, two (2)
certified copies of this executed Order to the United States Attorney’s Office, Eastern
District of New York, Attn: Joeliza Valdez, ProMinds Paralegal, 271-A Cadman Plaza East,

Brooklyn, New York 11201.

Dated: Brooklyn, New York
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HONORABLE KIYO A. MATSUMOTO
UNITED STATES DISTRICT JUDGE
EASTERN DISTRICT OF NEW YORK

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